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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                    *

                      Plaintiff,             *
v.                                                         Cr. No.:18-10104 -STA
                                             *
BILLIE FREELAND
                                             *
                      Defendant.
                                             *


                            ORDER AND NOTICE OF SETTING


       IT APPEARING TO THIS COURT THAT upon the filed motion of the Defendant, there

being no objection filed by the Assistant United States Attorney, and for good cause shown, that

this motion is well taken and is therefore, GRANTED.

       The change of plea hearing in this matter shall be set for: Tuesday, February 5, 2019 at

11:00 a.m.



       IT IS SO ORDERED, this the 24th day of January, 2019


                                                    s/S. Thomas Anderson
                                                    HONORABLE S. THOMAS ANDERSON
                                                    CHIEF U.S. DISTRICT JUDGE
